                            UNITED STATES DISTRICT COURT

                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                                   CHARLOTTE DIVISION


UNITED STATES OF AMERICA

      V.                                          CASE NUMBER: 3:09CR39-13

DARYL GIBBS


       THIS MATTER is before the Court on an Order of Remand, filed 11/01/2013,

      from the Fourth Circuit Court of Appeals for re-sentencing.

       NOW, THEREFORE, IT IS ORDERED that:

       The Bureau of Prisons and the United States Marshals service is hereby ORDERED to

       transport and produce the body of DARYL GIBBS (USM# 23298-058), for re-

       sentencing before the honorable Frank D. Whitney,      in the Western District of North

       Carolina, Charlotte, North Carolina not later than January 2, 2014, and upon completion

       of the re-sentencing hearing, Defendant is to be returned to the custody of the Bureau

      of Prisons.

      The Clerk is directed to certify copies of this Order to the United States Attorney,

Defendant’s Counsel, the United States Marshal Service, and the United States Probation Office.

      IT IS SO ORDERED.




           Case 3:09-cr-00039-FDW      Document 741        Filed 12/12/13     Page 1 of 1
